             CASE 0:20-cv-01906-WMW-JFD Doc. 10 Filed 10/29/20 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


 Elisabeth Cleveland,                              Case No.: 20-CV-1906 WMW/KMM

                        Plaintiff,
                                                 NOTICE OF APPEARANCE OF
 vs.                                                  KYLE R. KROLL

 Whirlpool Corporation,

                        Defendant.


        PLEASE TAKE NOTICE that the undersigned, Kyle R. Kroll, is duly admitted to

practice before this Court and herein provides notice of appearance in the above-captioned

case as counsel with Thomas H. Boyd and Mary S. Riverso for Defendant Whirlpool

Corporation.

Dated: October 29, 2020                         WINTHROP & WEINSTINE, P.A.

                                                s/ Kyle R. Kroll
                                                Thomas H. Boyd, #200517
                                                Kyle R. Kroll, #398433
                                                Mary S. Riverso, #400224
                                                225 South Sixth Street, Suite 3500
                                                Minneapolis, Minnesota 55402
                                                T: (612) 604 6400F: (612) 604-6800
                                                tboyd@winthrop.com
                                                kkroll@winthrop.com
                                                mriverso@winthrop.com

                                                Attorneys for Defendant
20600804v1
